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 8                        UNITED STATES DISTRICT COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,      )    Case No. 2:21-cr-00056-GW-1
                                    )
11                  Plaintiff,      )    ORDER DENYING DEFENDANT’S
                                    )    APPLICATION TO RECONSIDER
12             v.                   )    ORDER DENYING PRETRIAL RELEASE
                                    )
13   ALBERTO LOPEZ CASTILLO,        )
                                    )
14                  Defendant.      )
                                    )
15
                                        I.
16
          This matter is before the court on defendant’s application to
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     reconsider the court’s February 22, 2021 order denying pretrial
18
     release and imposing detention pursuant to 18 U.S.C. § 3142(e)
19
     (“Defendant’s Application”).
20
          The Government (x) is ( ) is not entitled to a rebuttable
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     presumption that no condition or combination of conditions will
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     reasonably assure defendant’s appearance as required and the safety of
23
     any person or the community.
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 1                                      II.

 2   A.   (     )        The Court finds by a preponderance of the evidence

 3                       that no condition or combination of conditions

 4                       will reasonably assure the appearance of defendant

 5                       as required;

 6   B.   (x)            The Court finds by clear and convincing evidence

 7                       that no condition or combination of conditions

 8                       will reasonably assure the safety of any other

 9                       person and the community.

10                                      III.

11   The Court has considered:

12   A.   (x)       the nature and circumstances of the offense(s) charged;

13   B.   (x)       the weight of the evidence against defendant;

14   C.   (x)       the history and characteristics of defendant;

15   D.   (x)       the nature and seriousness of the danger to any person

16                  or the community that would be posed by defendant’s

17                  release;

18   E.   (x)       the Pretrial Services Report/Recommendation;

19   F.   (x)       the evidence proffered/presented at the hearing;

20   G.   (x)       the arguments of counsel.

21                                      IV.

22   The Court concludes:

23   A.   (x)       Defendant poses a risk to the safety of other persons

24                  and the community based on his criminal history (which

25                  includes a prior firearm offense), the instant offense

26                  allegations (which include possession of a loaded

27                  firearm), and defendant’s alleged commission of the

28                  instant offenses while on probation.   The fact that

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 1              defendant is alleged to have possessed a loaded firearm

 2              – something prohibited by his felon status and the

 3              terms of probation, lead the Court to conclude that

 4              defendant would be unlikely to comply with any order of

 5              this Court prohibiting him from possession of weapons.

 6   B.   (   ) Defendant poses a serious flight risk based on: _______

 7        ____________________________________________________________

 8        ____________________________________________________________

 9        ____________________________________________________________

10   C.   (   ) A serious risk exists that defendant will:

11              1.    (    ) obstruct or attempt to obstruct justice;

12              2.    (    ) threaten, injure or intimidate a prospective

13                           witness or juror or attempt to do so;

14        based on:       ________________________________________________

15        ____________________________________________________________

16        ____________________________________________________________

17        ____________________________________________________________

18   D.   (x)   Defendant has not rebutted by sufficient evidence to

19              the contrary the presumption provided in 18 U.S.C.

20              § 3142(e) that no condition or combination of

21              conditions will reasonably assure the safety of any

22              other person and the community;

23        and/or

24        (   ) Defendant has not rebutted by sufficient evidence to

25              the contrary the presumption provided in 18 U.S.C.

26              § 3142(e) that no condition or combination of

27              conditions will reasonably assure the appearance of

28              defendant as required.

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 1        IT IS ORDERED that Defendant’s Application is denied and that

 2   defendant be detained prior to trial.

 3        IT IS FURTHER ORDERED that defendant be committed to the custody

 4   of the Attorney General for confinement to a corrections facility

 5   separate, to the extent practicable, from persons awaiting or serving

 6   sentences or persons held in custody pending appeal.

 7        IT IS FURTHER ORDERED that defendant be afforded reasonable

 8   opportunity for private consultation with defendant’s counsel.

 9        IT IS FURTHER ORDERED that, on Order of a Court of the United

10   States or on request of an attorney for the Government, the person in

11   charge of the corrections facility in which defendant is confined

12   deliver defendant to a United States Marshal for the purpose of an

13   appearance in connection with a court proceeding.

14        DATED: April 28, 2021

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                                                    /s/
16                                      HONORABLE JACQUELINE CHOOLJIAN
                                        United States Magistrate Judge
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